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                   EXHIBIT F
          Case 2:23-cv-11634-NGE-APP ECF No. 14-7, PageID.95 Filed 08/01/23 Page 2 of 4




From:                       Clinton Mikel
Sent:                       Monday, July 31, 2023 2:23 PM
To:                         Elizabeth Marzotto Taylor; Monique Selby; Adrienne Dresevic; Jonathan Messina
Cc:                         Deborah Gordon; Molly Savage; Sarah Gordon Thomas
Subject:                    RE: Pensler et al /Request for extension


Hi, Elizabeth,

We waited 20 minutes on the call but you didn’t join, despite having accepted the invitation. I hope everything is OK.

Happy to re-schedule the call if you like, BUT, given what we calculate deadlines to be we need to file
Motion for Extension ASAP, so re-schedule would need to be ASAP.

To finish off the meet-and-confer via email since you missed our call. We gave you below very detailed
reasons why we need an extension. Additionally, I will add that: (i) our client has been in Spain and are just getting back
this week; (ii) my father-in-law is going into hospice shortly, and I anticipate travel between here/MO will be added into
the mix; (iii) my mother is having surgery to remove thyroid cancer at the end of August; and (iv) client is still waiting to
hear if insurance panel counsel may be appointed/take over, and that will add time. Again, I have never been in a position
of begging opposing counsel for a standard extension, and am perplexed at your opposition.

I asked below for you to detail any reason you would be objecting to an extension – your only response was that it
would prejudice your client.

First, are there any other reasons you would object?

Second, please detail how an extension would prejudice your client.

Finally, in the spirit of compromise we would settle on a 30-day negotiated extension until September 11, 2023, and, of
course, would grant you reciprocity. If we have to file the Motion, though, that takes additional time off our plate and
we would be asking for 45-days.

Please let me know ASAP. I anticipate we would be filing a Motion tomorrow.

Thanks, Clinton

                                       Clinton Mikel
                                       Partner
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                                       F. (248) 996-8525
                                       A. 32000 Northwestern, # 240, Farmington Hills, MI 48334
                                       E. cmikel@thehlp.com


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From: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>
Sent: Thursday, July 27, 2023 4:08 PM
To: Monique Selby <mselby@thehlp.com>; Clinton Mikel <CMikel@thehlp.com>; Adrienne Dresevic
<ADresevic@thehlp.com>; Jonathan Messina <jmessina@thehlp.com>
Cc: Deborah Gordon <dgordon@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Sarah
Gordon Thomas <sthomas@deborahgordonlaw.com>
Subject: RE: Pensler et al /Request for extension

Monique,
We can talk Monday at 2pm.

Thanks,


                  Elizabeth M arzotto Taylor|Attorney & C ounselor|
                  D EB O R A H G O R D O N LA W
                  |phone: (248)258-2500
                  |fax: (248)258-7881
                  |w ebsite:ww w .deborahgordonlaw .com




From: Monique Selby <mselby@thehlp.com>
Sent: Thursday, July 27, 2023 3:56 PM
To: Clinton Mikel <CMikel@thehlp.com>; Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>; Adrienne Dresevic
<ADresevic@thehlp.com>; Jonathan Messina <jmessina@thehlp.com>
Cc: Deborah Gordon <dgordon@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Sarah
Gordon Thomas <sthomas@deborahgordonlaw.com>
Subject: RE: Pensler et al /Request for extension

Hi all,

Clinton and Adrienne are available on the following days/times for a call:
Tomorrow, Friday 7/28 ‐ 10am EST and after 4pm EST
Monday 7/31 ‐ 11am EST, 2pm EST and after 4pm EST
Tuesday 8/1 – 10am EST and after 2pm EST.

Please let me know what works best for everyone.

Thank you!

Monique



                             Monique Selby
                             Office Manager/Executive Assistant

                             O. (248) 996-8510

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From: Clinton Mikel <CMikel@thehlp.com>
Sent: Thursday, July 27, 2023 3:26 PM
To: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>; Adrienne Dresevic <ADresevic@thehlp.com>; Jonathan
Messina <jmessina@thehlp.com>
Cc: Deborah Gordon <dgordon@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Sarah
Gordon Thomas <sthomas@deborahgordonlaw.com>; Monique Selby <mselby@thehlp.com>
Subject: RE: Pensler et al /Request for extension

Hi, Elizabeth,

You keep saying Answer – I am not sure that we are answering/counterclaiming as opposed to filing a Motion to Dismiss
right now. This is one of the reasons we need time, but I neglected to enumerate this below. I thought it was implicit.
Does that change anything?

If you are saying we only get an extra week, unfortunately we will have to file a Motion. I am assuming that you will
oppose. To make sure that there is no question about meeting Local Rules, can we please setup a brief oral meet-and-
confer? If we must waste the Court’s time on this, I want to make sure that we have tried every angle.

Monique – Can you please coordinate for next couple of days?

Thanks, Clinton

                                       Clinton Mikel
                                       Partner
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